 Case 3:05-cr-30086-NJR            Document 531 Filed 04/13/06          Page 1 of 1       Page ID
                                             #1034



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
vs.                                              )   CRIMINAL NO. 05-30086-06-GPM
                                                 )
PEDRO RUIZ,                                      )
                                                 )
                      Defendant.                 )


      ACCEPTANCE OF PLEA OF GUILTY, ADJUDICATION OF
            GUILT, AND NOTICE OF SENTENCING
MURPHY, Chief District Judge:

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

there has been no timely objection, the plea of guilty of Defendant Pedro Ruiz to Counts 1 and 5 of

the Indictment is hereby accepted, and Defendant is adjudged guilty of such offenses.

       A Presentence Investigation Report is ordered. The Court will defer a decision on the Plea

Agreement pending review of the Presentence Investigation Report.

       Sentencing is hereby scheduled for Monday, July 24, 2006, at 9:00 a.m.

       IT IS SO ORDERED.

       DATED: 04/13/06


                                                     s/ G. Patrick Murphy
                                                     G. PATRICK MURPHY
                                                     Chief United States District Judge
